
650 S.E.2d 817 (2007)
STATE of North Carolina
v.
Vernelle Lafarris BULLOCK, Sr.
No. 445P02-4.
Supreme Court of North Carolina.
August 23, 2007.
Daniel R. Pollitt, Assistant Appellate Defender, for Bullock.
Amy C. Kunstling, Assistant Attorney General, R. Stuart Albright, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 645 S.E.2d 402.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 6th day of July 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 23rd day of August 2007."
Upon consideration of the petition filed on the 6th day of July 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
HUDSON, J., recused.
